Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 1 of 13




             EXHIBIT E
                                     Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 2 of 13
Kaplan Hecker & Fink LLP
   Date     Timekeeper                                                                                   Narrative                                                                Hours
  8/8/2023 MC            Coordinate initial research topics; call with A. Sabaghian and A. Jain; attention to amended complaint.                                                    2.2
  8/9/2023 AJ            Researching, calculating, and summarizing upcoming filing deadlines and requirements.                                                                      2.1
  8/9/2023 MC            Review amended complaint.                                                                                                                                  0.5
  8/9/2023 ASA           Research into procedural questions regarding anti-SLAPP motions in federal court.                                                                          2.1
 8/10/2023 ASA           Research into whether a combo anti-SLAPP motion/motion to dismiss is appropriate.                                                                          2.3
 8/10/2023 ASA           Reviewing and summarizing Brandwatch-related documents.                                                                                                      4
 8/10/2023 AJ            Attention to factual and legal research (editing legal analysis re: case deadlines and strategy; reviewing summary of relevant documents from client).     0.5
 8/11/2023 AJ            Attention to potential anti-SLAPP motion (legal research).                                                                                                 3.6
 8/12/2023 AJ            Attention to potential anti-SLAPP motion (legal research and analysis).                                                                                    4.7
 8/13/2023 ASA           Re-reading complaint.                                                                                                                                      0.7
 8/14/2023 ASA           Attention to motion to dismiss legal research.                                                                                                             2.8
 8/14/2023 AJ            Attention to motion to dismiss (legal research).                                                                                                           0.4
 8/14/2023 JQ            Internal touch-base call re MTD planning.                                                                                                                  0.2
 8/14/2023 AJ            Attention to anti-SLAPP motion (legal research and analysis).                                                                                              2.6
 8/14/2023 MC            Call with R. Kaplan and J. Quinn re MTD planning.                                                                                                          0.2
 8/14/2023 RK            Catch up call with M. Craig and J. Quinn re MTD planning.                                                                                                  0.2
 8/15/2023 RK            Emails re amended complaint.                                                                                                                               0.3
 8/15/2023 JQ            Emails re amended complaint.                                                                                                                               0.3
 8/15/2023 MC            Review claims analysis.                                                                                                                                    1.2
 8/15/2023 ASA           Research on potential defenses; correspondences regarding the same.                                                                                        1.9
 8/16/2023 ASA           Additional work on research and revisions to the same.                                                                                                     4.7
 8/16/2023 MC            Review claims analysis and provide comments on same.                                                                                                       3.5
 8/16/2023 AJ            Attention to anti-SLAPP and 12(b)(6) research (meeting with M. Craig and A. Sabaghian).                                                                      1
 8/16/2023 AJ            Attention to anti-SLAPP motion (legal research, analysis, and revision of analysis).                                                                         2
 8/16/2023 RK            Emails with client re status.                                                                                                                              0.3
 8/17/2023 AJ            Attention to anti-SLAPP and MTD arguments (legal research and analysis).                                                                                   2.3
 8/17/2023 ASA           Legal research on defenses.                                                                                                                                2.7
 8/17/2023 ASA           Legal research on defenses.                                                                                                                                2.3
 8/20/2023 MC            Work on claims analysis; review caselaw.                                                                                                                   5.8
 8/21/2023 JQ            Review draft MTD outline from team.                                                                                                                        0.5
 8/22/2023 AJ            Attention to motion to dismiss/anti-SLAPP motion (call with M. Craig and A. Sabaghian).                                                                    0.5
 8/22/2023 AJ            Attention to motion to dismiss (research and analysis).                                                                                                    1.1
 8/22/2023 AJ            Attention to anti-SLAPP motion (revising legal analysis; supplemental legal research).                                                                     1.6
 8/22/2023 ASA           Team meeting with M. Craig and A. Jain to discuss next steps.                                                                                              0.5
 8/22/2023 ASA           Reviewing emails related to potential defenses against the complaint.                                                                                      0.5
 8/22/2023 MC            Call with A. Jain and A. Sabaghian re claims analysis; revise initial analysis for broader distribution.                                                   0.8
 8/23/2023 MC            Work on revised research analysis and emails re same.                                                                                                      1.8
 8/23/2023 ASA           Additional work on revisions to research document for potential defenses to the complaint; emails regarding the same.                                      0.5
 8/23/2023 RK            Attention to argument email for client.                                                                                                                    0.9
 8/23/2023 AJ            Attention to motion to dismiss (legal analysis and revisions).                                                                                             3.9
 8/24/2023 AJ            Attention to motion to dismiss (fact-gathering call with clients, R. Kaplan, J. Quinn, and M. Craig (1.0); follow-ups (0.4)).                              1.4
 8/24/2023 AJ            Attention to motion to dismiss (reviewing comments on legal research).                                                                                     0.2
 8/24/2023 JQ            Call w tech team at client, internal follow-up.                                                                                                              1
 8/24/2023 RK            Call with clients re facts, re research reports; emails re claims.                                                                                         1.6
 8/24/2023 ASA           Attention to emails and correspondences regarding defenses and timeline of filings.                                                                        0.4



                                                                                              1
                                    Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 3 of 13


  Date     Timekeeper                                                                                 Narrative                                                                         Hours
8/24/2023 MC            Call with clients re complaint allegations; review claims analysis and provide comments on same.                                                                  2.4
8/25/2023 ASA           Additional research on defenses; edits and revisions to outline regarding the same.                                                                               4.9
8/25/2023 AJ            Attention to anti-SLAPP motion and MTD (legal research and analysis).                                                                                             6.9
8/26/2023 AJ            Attention to MTD and anti-SLAPP motion (legal research and analysis).                                                                                             1.2
8/26/2023 MC            Review revised claims analysis; email with J. Quinn and J. Matz.                                                                                                  0.3
8/26/2023 ASA           Additional research on potential defenses to the complaint.                                                                                                       4.2
8/28/2023 RK            Attention to motion to dismiss.                                                                                                                                   0.2
8/28/2023 AJ            Attention to anti-SLAPP and Rule 12 motion (reviewing legal research and analysis).                                                                               0.2
8/30/2023 MC            Confer with A. Jain re next steps; call with I. Ahmed.                                                                                                            0.9
8/30/2023 RK            Call with client re motion to dismiss.                                                                                                                            0.7
8/30/2023 JQ            Prep for and lead call with client re motion arguments and strategy.                                                                                                1
8/30/2023 AJ            Attention to research planning (communicating with A. Sabaghian re: client updates and next steps for research).                                                  0.3
8/30/2023 AJ            Call with client and R. Kaplan, J. Quinn, and M. Craig (0.7); debrief and next steps with M. Craig (0.2).                                                         0.9
 9/1/2023 AJ            Attention to anti-SLAPP motion (legal research).                                                                                                                  2.7
 9/1/2023 AJ            Attention to anti-SLAPP motion (factual/technical research).                                                                                                      1.8
 9/5/2023 AJ            Attention to anti-SLAPP motion (call with A. Sabaghian re: factual and legal research).                                                                           0.7
 9/5/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (client correspondence and factual research).                                                                0.7
 9/5/2023 AJ            Attention to anti-SLAPP motion and MTD (factual and legal research (4.0)).                                                                                          4
 9/5/2023 ASA           Review of background materials relating to Complaint; meeting with A. Jain to discuss defenses and issues.                                                          1
 9/6/2023 ASA           Research on arguments for motion to dismiss.                                                                                                                      1.7
 9/7/2023 ASA           Research on MTD arguments.                                                                                                                                        3.7
 9/8/2023 ASA           Research on MTD arguments.                                                                                                                                        1.7
9/10/2023 ASA           Research on MTD arguments.                                                                                                                                        2.7
9/11/2023 ASA           Researching case law on anti-SLAPP deadline in federal court and creating chart of current deadlines.                                                             1.5
9/11/2023 AJ            Attention to anti-SLAPP motion (factual research (0.3); legal research re: scheduling and deadlines (0.6)).                                                       0.9
9/11/2023 MC            Emails re contract arguments; review analysis of MTD defenses.                                                                                                    0.4
9/12/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (planning and substantive discussion with M. Craig and A. Sabaghian).                                        0.5
9/12/2023 MC            Call with A. Sabaghian and A. Jain.                                                                                                                               0.5
9/14/2023 AJ            Meeting with A. Sabaghian re: anti-SLAPP motion research.                                                                                                         0.2
9/14/2023 AJ            Attention to combined motion to dismiss and anti-SLAPP motion (outlining motion).                                                                                 1.5
9/14/2023 AJ            Attention to drafting scheduling stipulation.                                                                                                                     0.3
9/14/2023 ASA           Meeting with A. Jain to discuss next steps on anti-SLAPP motion research.                                                                                         0.2
9/14/2023 ASA           Revisions to draft stipulation; research and correspondence regarding the same.                                                                                   2.4
9/15/2023 ASA           Revisions to draft stipulation; correspondence regarding the same.                                                                                                  1
9/15/2023 AJ            Attention to editing draft stipulation.                                                                                                                           0.5
9/15/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (outlining motion).                                                                                          0.3
9/16/2023 AJ            Attention to anti-SLAPP motion (outlining motion (0.1)); attention to scheduling stipulation (legal research and editing stipulation (0.4)).                      0.5
9/19/2023 ASA           Reviewing outline of arguments for motions to strike/dismiss.                                                                                                     0.3
9/20/2023 MC            Review and revise draft stipulation; revise and revise draft declaration; emails with A. Jain and A. Sabaghian re filings; prepare comments on motion outline.    3.3
9/20/2023 AJ            Attention to scheduling stip (revising stip).                                                                                                                     0.2
9/20/2023 ASA           Research and revisions to stipulation for extension of time.                                                                                                      1.9
9/21/2023 AJ            Attention to scheduling stipulation (0.3); attention to motion to dismiss and anti-SLAPP motion (reviewing and annotating outline of motion (0.2); call with M.     1
9/21/2023 ASA           Edits and revisions to stipulation; research and correspondence regarding the same.                                                                                 2
9/21/2023 ASA           Team meeting with M. Craig and A. Jain to discuss motion planning.                                                                                                0.5
9/21/2023 MC            Call with A. Jain and A. Sabaghian re motions; review caselaw.                                                                                                    1.4



                                                                                            2
                                      Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 4 of 13


   Date     Timekeeper                                                                                 Narrative                                                           Hours
 9/22/2023 ASA           Correspondences with Amit Jain regarding First Amendment issues.                                                                                    0.5
 9/22/2023 AJ            Attention to anti-SLAPP motion (legal research and analysis).                                                                                       0.1
 9/23/2023 RK            Emails with client re status.                                                                                                                       0.5
 9/25/2023 AJ            Attention to case logistics (revising and editing scheduling stipulation).                                                                          0.2
 9/25/2023 AJ            Attention to motion to dismiss arguments (call with M. Craig and A. Sabaghian (0.6); debrief and factual research with A. Sabaghian (0.2)).         0.8
 9/25/2023 ASA           Arranging, organizing, and coordinating documents relevant to anticipated motions; attention to edits to stipulation.                               1.9
 9/25/2023 ASA           Team meeting to discuss relevant documents for anticipated motions.                                                                                 0.8
 9/25/2023 MC            Revise stipulation and declaration; emails re same; call with A. Jain and A. Sabgaghian re Brandwatch issues, and prep for same.                    3.1
 9/26/2023 MC            Revise stipulation and email re same.                                                                                                               0.9
 9/26/2023 AJ            Attention to case logistics and deadlines (editing draft scheduling stipulation (0.7); research (0.2)).                                             0.9
 9/27/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (legal and factual analysis).                                                                  0.8
 9/27/2023 JQ            Call and emails w client re timing of stip and defenses.                                                                                            0.1
 9/27/2023 MC            Attention to documents re: Brandwatch allegations; revisions to stipulation.                                                                        0.3
 9/27/2023 ASA           Creating chart of facts relevant to anticipated anti-SLAPP and Rule 12(b) motions.                                                                  2.2
 9/27/2023 ASA           Research on MTD arguments.                                                                                                                          1.4
 9/28/2023 ASA           Drafting and researching anticipated motions; correspondences with A. Jain regarding the same.                                                      5.4
 9/28/2023 ASA           Review of Brandwatch documents.                                                                                                                     0.5
 9/28/2023 ASA           Drafting and researching anticipated motions; correspondences with A. Jain regarding the same.                                                      1.9
 9/28/2023 MC            Emails with ECF counsel and opposing counsel re stipulation; attention to Brandwatch allegations issue.                                               1
 9/28/2023 RK            Emails with client re Brandwatch letter to opposing counsel.                                                                                        0.4
 9/28/2023 AJ            Attention to scheduling (legal research and communication re: scheduling stipulation; revising stipulation).                                        0.6
 9/28/2023 AJ            Attention to anti-SLAPP motion (legal research, analysis, and outlining).                                                                             5
 9/29/2023 AJ            Attention to anti-SLAPP motion (legal research, analysis, and drafting).                                                                            5.5
 9/29/2023 ASA           Drafting and researching anticipated motions; correspondences with A. Jain regarding the same.                                                      2.4
 9/29/2023 ASA           Drafting and researching anticipated motions; correspondences with A. Jain regarding the same.                                                      0.7
 9/29/2023 ASA           Drafting and researching anticipated motions.                                                                                                       0.9
 9/30/2023 AJ            Attention to anti-SLAPP motion (drafting motion).                                                                                                   5.1
 10/2/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (editing and drafting motion).                                                                 2.3
 10/2/2023 JQ            Extensive work on finalizing stip including multiple calls to opposing counsel, local counsel, co-defendant counsel, edits to draft, follow-up.       2
 10/2/2023 MC            Calls with opposing counsel, J. Quinn, and M. Williams re stipulation; emails re stipulation.                                                       1.5
 10/2/2023 ASA           Research and drafting for anticipated motion to dismiss.                                                                                            2.6
 10/3/2023 ASA           Research and drafting for anticipated motion to dismiss.                                                                                            8.8
 10/3/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (reviewing draft).                                                                             0.1
 10/3/2023 MC            Review documents re: Brandwatch and prepare analysis of same.                                                                                       3.3
 10/4/2023 ASA           Research and writing for anticipated motion to dismiss.                                                                                             3.4
 10/4/2023 ASA           Research and writing for anticipated motion to dismiss.                                                                                             4.2
 10/4/2023 MC            Attention to Brandwatch issues.                                                                                                                     0.5
 10/5/2023 ASA           Attention to legal research for anticipated anti-SLAPP motion.                                                                                      2.6
 10/5/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (drafting and revising motion).                                                                4.1
 10/5/2023 MC            Attention to Brandwatch issues.                                                                                                                     0.3
 10/6/2023 AJ            Attention to motion to dismiss and anti-SLAPP motion (drafting and editing motion).                                                                 8.4
 10/6/2023 ASA           Correspondence with A. Jain regarding draft motions; review of draft motion; review of analysis of relevant Brandwatch agreements.                  0.8
 10/6/2023 MC            Work on analysis of Brandwatch agreements.                                                                                                          0.5
10/11/2023 ASA           Drafting email to client regarding available documents.                                                                                             1.6
10/11/2023 ASA           Meeting with J. Quinn and M. Craig to discuss Brandwatch agreements.                                                                                0.2



                                                                                                3
                                     Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 5 of 13


   Date     Timekeeper                                                                                 Narrative                                                                        Hours
10/11/2023 ASA           Call w/ M. Craig about client email.                                                                                                                             0.2
10/11/2023 MC            Calls re Brandwatch documents.                                                                                                                                   0.4
10/11/2023 JQ            Internal meeting re Brandwatch issues.                                                                                                                           0.2
10/12/2023 MC            Work on email to client re Brandwatch documents.                                                                                                                 0.5
10/13/2023 MC            Call with I. Ahmed re status and next steps.                                                                                                                     0.5
10/13/2023 JQ            Update call w client.                                                                                                                                            0.5
10/13/2023 ASA           Attention to legal research for anticipated anti-SLAPP motion.                                                                                                   0.3
10/17/2023 ASA           Attention to correspondence regarding Brandwatch documents.                                                                                                      0.1
10/17/2023 ASA           Attention to legal research for anticipated anti-SLAPP motion.                                                                                                   0.4
10/18/2023 AJ            Attention to anti-SLAPP motion/motion to dismiss (meeting with M. Craig and A. Sabaghian (0.5); legal research and analysis (1.4)).                              1.9
10/18/2023 ASA           Meeting with M. Craig and A. Jain to discuss next steps on motion.                                                                                               0.5
10/18/2023 MC            Meet with associate team.                                                                                                                                        0.5
10/19/2023 AJ            Attention to anti-SLAPP motion (legal research and analysis).                                                                                                    0.5
10/19/2023 ASA           Attention to correspondence about anti-SLAPP legal issues.                                                                                                       0.4
10/20/2023 ASA           Attention to drafts and correspondence regarding Brandwatch letter to opposing counsel.                                                                          0.2
10/20/2023 AJ            Attention to opposing counsel communications (drafting Brandwatch letter to opposing counsel re: falsities in the complaint).                                    1.6
10/20/2023 MC            Work on letter re Brandwatch documents.                                                                                                                          1.3
10/23/2023 MC            Revise Brandwatch letter; emails re same.                                                                                                                        0.6
10/24/2023 JQ            Work on brandwatch letter.                                                                                                                                       0.5
                         Attention to opposing counsel communications (revising Brandwatch letter to opposing counsel (0.8)); attention to anti-SLAPP motion/motion to dismiss
10/24/2023 AJ            (factual research and review of local rules (0.2)).                                                                                                                1
10/25/2023 AJ            Attention to opposing counsel communications (internal review and revisions of letter to opposing counsel re: factual inaccuracies).                             0.4
10/25/2023 RK            Reviewed Brandwatch letter to opposing counsel.                                                                                                                  0.6
                         Attention to motion to dismiss and anti-SLAPP motion (legal research (0.3); review of standing order and consideration of stipulation for additional pages
10/26/2023 AJ            (0.3)); attention to Brandwatch letter to opposing counsel (0.1).                                                                                                0.7
                         Attention to anti-SLAPP motion and motion to dismiss (factual research (0.2)); attention to stipulation for additional pages (researching and drafting
10/27/2023 AJ            stipulation (1.0)).                                                                                                                                              1.2
10/30/2023 AJ            Attention to opposing counsel communications.                                                                                                                    0.1
                         Attention to page extension stipulation (correspondence with opposing counsel (0.2)); attention to draft letter to opposing counsel re: Brandwatch allegations
10/31/2023 AJ            (0.2).                                                                                                                                                           0.4
10/31/2023 MC            Work on motion to dismiss.                                                                                                                                       0.5
10/31/2023 JQ            Attention to brandwatch letter.                                                                                                                                  0.4
10/31/2023 RK            Review letter to J. Hawk re Brandwatch.                                                                                                                          0.3
 11/1/2023 AJ            Attention to motion to dismiss/anti-SLAPP motion (editing and revising motion).                                                                                  2.1
 11/1/2023 AJ            Attention to communications with opposing counsel (editing and revising letter re: Brandwatch allegations).                                                      0.6
 11/1/2023 ASA           Attention to Matt Craig comments on draft motion; correspondence with Amit Jain regarding the same.                                                              0.4
 11/1/2023 RK            Edits to Brandwatch letter.                                                                                                                                      0.6
 11/1/2023 MC            Work on motion to dismiss and anti-SLAPP motions; email re same.                                                                                                 4.1
 11/2/2023 ASA           Extensive research and edits for draft motions.                                                                                                                  5.8
                         Attention to motion to dismiss and anti-SLAPP motion (call with A. Sabaghian (0.1); revising draft motion (5.7)); attention to stipulation for more pages
 11/2/2023 AJ            (editing stipulation (0.3)).                                                                                                                                     6.1
 11/3/2023 AJ            Attention to MTD/anti-SLAPP motion.                                                                                                                              0.1
 11/3/2023 JQ            Close read of brief, initial edits, emails w team; review and revise page limit stip.                                                                            1.8
 11/3/2023 JQ            Correspondence and calls to other side re page limit agreement.                                                                                                  0.5
 11/3/2023 AJ            Attention to stipulation for additional pages (revising stipulation).                                                                                            0.6



                                                                                            4
                                         Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 6 of 13


   Date     Timekeeper                                                                                     Narrative                                                                         Hours
 11/3/2023 ASA         Review and correspondence regarding draft motions.                                                                                                                      0.5
 11/6/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (meeting with R. Kaplan, J. Quinn, and A. Sabaghian).                                                              0.5
 11/6/2023 JQ          Further review of brief, meet w team.                                                                                                                                     1
                       Attention to motion to dismiss and anti-SLAPP brief (revisions and legal research (4.7)); attention to extension of pages stipulation (filing logistics and revisions
 11/6/2023 AJ          (0.3).                                                                                                                                                                    5
 11/6/2023 ASA         Compiling outstanding research questions.                                                                                                                               0.3
 11/6/2023 ASA         Additional research related to motions to dismiss/strike.                                                                                                               1.2
 11/6/2023 ASA         Additional research related to motions to dismiss/strike.                                                                                                               3.5
 11/6/2023 ASA         Team meeting to discuss draft motion.                                                                                                                                   0.5
 11/6/2023 RK          Team meeting re status, motion to dismiss.                                                                                                                              0.5
 11/7/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (editing and revising draft (4.9); review of Judge Breyer's individual rules (0.2)).                               5.1
 11/7/2023 ASA         Implementing edits to draft anticipated motions (Rule 12(b)(6) and anti-SLAPP); research regarding the same; correspondence regarding the same.                         5.1
 11/7/2023 JQ          Extensive work revising draft brief.                                                                                                                                    3.9
 11/8/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (editing and revising draft motion).                                                                               1.7
 11/8/2023 AJ          Attention to draft stipulation for additional pages (correspondence with opposing counsel; editing stipulation).                                                        0.2
 11/8/2023 JQ          Attention to stip correspondence, further edits to draft brief.                                                                                                           1
 11/8/2023 ASA         Correspondence regarding anticipated motions; discussing outstanding research tasks with A. Jain; drafting declaration for anticipated motions.                         1.9
 11/9/2023 RK          Call with client re motion to dismiss.                                                                                                                                  0.3
 11/9/2023 JQ          Call w client re brief; attention to brief edits, finalize stip, finalize draft brief.                                                                                  1.5
 11/9/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (legal research and revisions).                                                                                    2.7
 11/9/2023 AJ          Attention to draft stipulation for additional pages (revising stipulation; correspondence with opposing counsel; filing and logistics).                                 1.1
 11/9/2023 AJ          Attention to draft letter to opposing counsel (finalizing letter).                                                                                                      0.1
                       Attention to Brandwatch letter to opposing counsel (securing exhibit and finalizing letter (1.1)); attention to motion to dismiss and anti-SLAPP motion
11/10/2023 AJ          (outlining remaining legal research tasks (0.2)).                                                                                                                       1.3
11/10/2023 RK          Attention to Brandwatch letter and related matters.                                                                                                                     1.1
11/10/2023 ASA         Attention to correspondence regarding remaining tasks for anticipated motions.                                                                                          0.5
11/11/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (revising motion).                                                                                                   1
11/13/2023 JQ          Review latest turns of brief.                                                                                                                                           1.3
11/13/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (calls with M. Craig re: draft).                                                                                   0.7
11/13/2023 MC          Review draft brief; attention to motion to dismiss issues; calls with A. Jain re case status.                                                                             2
11/13/2023 AJ          Attention to anti-SLAPP motion and motion to dismiss (legal research and analysis; revising motion).                                                                    2.5
11/13/2023 ASA         Attention to correspondence regarding anticipated motions; research and correspondence regarding claims; edits to RAK declaration.                                      1.6
11/14/2023 AJ          Call with M. Craig (discussing motion to dismiss and anti-SLAPP motion).                                                                                                0.2
11/14/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (legal research; revising motion).                                                                                 1.3
11/14/2023 MC          Call with A. Jain re our brief; review and revise anti-SLAPP motion.                                                                                                    0.5
11/15/2023 MC          Calls with A. Jain re X Corp. letter; prepare email to client re X Corp. letter.                                                                                        0.5
11/15/2023 AJ          Attention to opposing counsel communications (analyzing letter from opposing counsel; calls with M. Craig re: letter; drafting update for client).                      0.6
11/15/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (revising motion, conducting legal research, considering whether RJN needed).                                        1
11/15/2023 JQ          Review latest turn of brief and propose edits.                                                                                                                          1.1
11/16/2023 AJ          Attention to motion to dismiss and anti-SLAPP motion (revising, proofreading, finalizing, and filing motion).                                                           5.5
11/16/2023 MC          Final review of brief; confer with A. Jain re brief finalization; emails with client re filing.                                                                         3.5
11/16/2023 ASA         Proofing filings; correspondence with A. Jain regarding the same.                                                                                                       2.6
11/16/2023 RK          Finalization and filing of brief.                                                                                                                                       0.7
11/16/2023 JQ          Brief finalization.                                                                                                                                                     0.3
11/20/2023 AJ          Attention to reviewing new related litigation.                                                                                                                          0.3



                                                                                                5
                                     Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 7 of 13


   Date     Timekeeper                                                                                   Narrative                                                                  Hours
11/27/2023 ASA           Tracking potential issues for reply brief.                                                                                                                   0.6
11/28/2023 RK            Emails with client re status.                                                                                                                                0.3
 12/6/2023 AJ            Attention to legal research (reviewing developments in litigation cited in anti-SLAPP motion).                                                               0.2
12/12/2023 ASA           Compiling sources for reply brief.                                                                                                                           0.5
12/14/2023 AJ            Attention to anti-SLAPP and MTD briefing (reviewing new filings in other litigation by X Corp.).                                                             0.2
12/20/2023 JQ            Coordinate w team on plan for review of opp brief and preparation of reply.                                                                                  0.2
12/20/2023 AJ            Attention to reply brief (reviewing opening brief and brainstorming arguments and schedule (0.5); call with M. Craig and A. Sabaghian re: reply (0.3)).      0.8
12/20/2023 MC            Call with associate team re reply brief; email with J. Quinn re same.                                                                                        0.6
12/20/2023 ASA           Team call with M. Craig and A. Jain to discuss reply brief.                                                                                                  0.3
12/22/2023 AJ            Attention to anti-SLAPP motion and motion to dismiss (reviewing X Corp.'s filings; legal research and analysis; drafting update for client).                 1.9
12/22/2023 ASA           Attention to email correspondence regarding reply brief.                                                                                                     0.3
12/22/2023 JQ            Initial review and internal emails re opposition brief.                                                                                                      0.5
12/22/2023 MC            Review opposition brief; emails re same; confer with A. Jain re reply.                                                                                       1.4
12/23/2023 ASA           Meeting with A. Jain to discuss reply brief.                                                                                                                   1
12/23/2023 AJ            Attention to reply brief (reviewing X Corp.'s filings (0.1); call discussing arguments, responses, and research tasks with A. Sabaghian (1.0)).              1.1
12/26/2023 ASA           Review and research for reply brief.                                                                                                                         2.8

12/27/2023 ASA           Research and drafting for reply brief; correspondence with A. Jain regarding the same; team meeting with J. Quinn, M. Craig, and A. Jain regarding same.     3.7
12/27/2023 AJ            Attention to reply brief (planning and analysis call with M. Craig and A. Sabaghian (0.7); follow-up call with A. Sabaghian (0.3)).                            1
12/27/2023 AJ            Attention to anti-SLAPP reply brief (legal research, analysis, and outlining/drafting re: state-law claims).                                                 5.1
12/27/2023 MC            Call with associate team re reply; review X Corp. opposition briefs.                                                                                         1.5
12/28/2023 ASA           Research and drafting for reply MTD brief; correspondence with A. Jain regarding the same.                                                                     6
12/28/2023 AJ            Attention to anti-SLAPP motion (researching and drafting anti-SLAPP portions of reply brief).                                                                7.3
12/29/2023 AJ            Attention to reply on anti-SLAPP motion (drafting and revising anti-SLAPP portions of reply brief).                                                          0.9
12/29/2023 ASA           Research and drafting for reply MTD brief; correspondence with Amit Jain regarding the same.                                                                 5.1
12/30/2023 ASA           Research and drafting for reply MTD brief.                                                                                                                   5.3
12/31/2023 ASA           Research and drafting for reply MTD brief.                                                                                                                   2.7
12/31/2023 AJ            Attention to reply on anti-SLAPP motion and motion to dismiss (drafting and revising reply brief).                                                           5.5
  1/2/2024 ASA           Research and edits on draft reply MTD brief.                                                                                                                 1.1
  1/3/2024 MC            Work on reply.                                                                                                                                               0.8
  1/3/2024 ASA           Research and drafting for reply MTD brief; correspondence with A. Jain regarding the same; review of draft brief.                                            1.8
  1/3/2024 AJ            Attention to reply on motion to dismiss (research, analysis, and drafting re: motion to dismiss portion of reply brief).                                     0.6
  1/4/2024 MC            Work on reply brief.                                                                                                                                           5
  1/5/2024 JQ            Extensive work on draft reply brief including close line-edit of all sections and brief emails and calls with team.                                          7.2
  1/5/2024 AJ            Attention to reply brief on anti-SLAPP motion and motion to dismiss (reviewing and revising reply).                                                          2.5
  1/5/2024 MC            Work on reply brief.                                                                                                                                         1.7
  1/5/2024 ASA           Reviewing latest draft of reply MTD brief; attention to correspondence with J. Quinn, M. Craig, and A. Jain re the same.                                     0.3
  1/6/2024 MC            Work on reply; attention to J. Quinn comments; email with R. Kaplan re brief.                                                                                2.4
  1/6/2024 ASA           Attention to emails regarding edits to draft reply MTD brief.                                                                                                0.2
  1/6/2024 JQ            Review latest turn of brief, email team w comments.                                                                                                          0.5
  1/6/2024 AJ            Attention to reply brief on motion to dismiss and anti-SLAPP motion (revising draft).                                                                        0.7
  1/7/2024 ASA           Incorporating edits to draft reply MTD brief; correspondence regarding the same.                                                                             0.8
  1/7/2024 AJ            Attention to reply brief on motion to dismiss and anti-SLAPP motion (revising draft).                                                                        0.8
  1/7/2024 MC            Work on revisions to reply brief.                                                                                                                            1.6
  1/7/2024 RK            Review reply brief.                                                                                                                                          0.5



                                                                                              6
                                    Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 8 of 13


  Date     Timekeeper                                                                                Narrative                                                                    Hours
 1/8/2024 RK            Emails re reply brief.                                                                                                                                      0.3
 1/8/2024 MC            Emails re meeting with CCDH re reply brief.                                                                                                                 0.3
 1/8/2024 AJ            Attention to reply brief on motion to dismiss and anti-SLAPP motion (legal research; correspondence with co-counsel and co-defendant's counsel).            0.5
 1/8/2024 JQ            Various emails re reply brief filing and coordination.                                                                                                      0.8
 1/9/2024 JQ            Various edits and brief comments.                                                                                                                           0.5
 1/9/2024 AJ            Attention to client advising (call with CCDH staff, J. Quinn, and M. Craig).                                                                                0.5
 1/9/2024 AJ            Attention to reply brief on anti-SLAPP motion and motion to dismiss (drafting and revising reply).                                                          0.5
 1/9/2024 MC            Call with CCDH re reply brief.                                                                                                                              0.5
 1/9/2024 ASA           Attention to emails regarding reply brief filing.                                                                                                           0.3
1/10/2024 AJ            Attention to reply brief in support of anti-SLAPP motion and motion to dismiss (proofreading, finalizing, and filing brief).                                2.5
1/10/2024 RK            Emails with client and team re reply brief.                                                                                                                 0.3
1/10/2024 ASA           Proofing final MTD reply brief; correspondence regarding the same.                                                                                            1
1/11/2024 ASA           Correspondence with A. Jain re: update in related litigation.                                                                                               0.1
1/11/2024 AJ            Attention to motion to dismiss hearing in related litigation (reviewing coverage).                                                                          0.5
1/18/2024 AJ            Attention to legal research (reviewing relevant new briefing in other X Corp. scraping case).                                                               0.2
1/22/2024 ASA           Attention to email and correspondence regarding developments in relevant litigation.                                                                        0.2
1/23/2024 AJ            Attention to drafting/revising client update on developments in litigation.                                                                                 0.1
1/23/2024 MC            Work on email to client re case law development.                                                                                                            0.2

1/23/2024 ASA           Reviewing recent case law development; reviewing prior cases; internal correspondence regarding the same; drafting update to client regarding the same.     2.9
1/27/2024 AJ            Attention to favorable decision in relevant scraping case (analyzing decision and considering implications for our case).                                   0.6
1/29/2024 ASA           Attention to email re: new summary judgment decision in relevant case.                                                                                      0.1
1/30/2024 MC            Attention to relevant summary judgment decision.                                                                                                            0.4
 2/1/2024 JQ            Attention to court notice and argument prep.                                                                                                                0.3
 2/1/2024 AJ            Attention to oral argument preparation (planning and timeline).                                                                                             0.4
 2/1/2024 ASA           Attention to emails re MTD oral argument prep.                                                                                                              0.2
 2/1/2024 MC            Attention to scheduling order; call with I. Ahmed; confer re oral argument prep plan.                                                                       0.9
 2/1/2024 RK            Attention to argument date, etc.                                                                                                                            0.2
 2/2/2024 MC            Emails re oral argument prep.                                                                                                                               0.4
 2/2/2024 ASA           Attention to emails re oral argument prep.                                                                                                                  0.2
 2/2/2024 AJ            Attention to oral argument prep.                                                                                                                            0.1
 2/5/2024 AJ            Attention to oral argument preparation (developing prep materials and schedule).                                                                            0.6
 2/6/2024 AJ            Reviewing court's decision in other X scraping case.                                                                                                        0.1
 2/6/2024 AJ            Attention to oral argument preparation (moot scheduling and preparing materials).                                                                           0.2
 2/6/2024 ASA           Extensive work on oral argument prep outline; correspondence re the same.                                                                                   5.2
 2/7/2024 MC            Attention to oral argument prep.                                                                                                                            0.4
 2/7/2024 ASA           Extensive additional work on oral argument prep outline; correspondence re the same.                                                                        5.8
 2/7/2024 AJ            Attention to oral argument prep (assembling prep materials).                                                                                                0.1
 2/8/2024 AJ            Attention to oral argument preparation (drafting and revising oral argument outline).                                                                       3.3
 2/8/2024 MC            Review prep material list; work on oral argument prep outline; calls with J. Quinn re oral argument.                                                        4.4
 2/8/2024 ASA           Reviewing edits to MTD oral argument outline; making edits to the same; attention to emails re the same.                                                    0.5
 2/9/2024 ASA           Prep call for MTD oral argument.                                                                                                                            0.5
 2/9/2024 ASA           Attention to emails and correspondence re oral argument prep materials.                                                                                     0.4
 2/9/2024 AJ            Attention to argument prep (meeting with J. Quinn, M. Craig, and A. Sabaghian).                                                                             0.5
 2/9/2024 AJ            Attention to oral argument prep (revising argument outline (0.9); legal research and pulling prep materials (0.2)).                                         1.1



                                                                                           7
                                    Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 9 of 13


  Date     Timekeeper                                                                               Narrative                                                                          Hours
 2/9/2024 JQ            Prep meeting with team.                                                                                                                                          0.5
 2/9/2024 MC            Call with J. Quinn and team re oral argument prep; work on oral argument prep.                                                                                     3
2/10/2024 AJ            Attention to oral argument prep (assembling prep materials).                                                                                                     0.1
2/12/2024 AJ            Attention to client advising re: new scraping decision.                                                                                                          0.4
2/12/2024 JQ            Oral argument prep.                                                                                                                                              1.2
2/13/2024 ASA           CCDH oral argument prep meetings; additional work on oral argument prep and creating chart of key cases.                                                         5.7
2/13/2024 MC            Oral argument prep meeting with J. Quinn and team; attention to argument prep materials; email re moot.                                                          2.6
2/13/2024 RK            Oral argument prep.                                                                                                                                              0.9
2/13/2024 JQ            Argument prep and meeting with team re argument prep issues.                                                                                                     2.5
2/13/2024 AJ            Attention to oral argument prep (call with R. Kaplan, J. Quinn, M. Craig, and A. Sabaghian (0.9); call with M. Craig and A. Sabaghian (0.3)).                    1.2
2/13/2024 AJ            Attention to oral argument prep (drafting and researching additional oral argument points and materials).                                                        3.3
2/14/2024 MC            Review and revise oral argument prep materials; attention to legal issues for argument; call with A. Jain re same.                                               4.1
2/14/2024 ASA           Additional work on chart of key cases; correspondence re the same.                                                                                               0.9
2/14/2024 AJ            Attention to oral argument prep (developing additional prep materials, incl. legal research (3.2); call with M. Craig (0.5)).                                    3.7
2/14/2024 JQ            Further argument prep.                                                                                                                                             1
2/15/2024 AJ            Attention to oral argument prep (legal research and preparing prep materials).                                                                                   0.6
2/15/2024 ASA           Attention to correspondence re oral argument prep.                                                                                                               0.2
2/15/2024 MC            Attention to oral argument prep.                                                                                                                                 0.2
2/16/2024 MC            Oral argument prep; call with J. Quinn and associates re same.                                                                                                     1
2/16/2024 AJ            Attention to oral argument prep (call with J. Quinn, M. Craig, and A. Sabaghian (1.0); follow-ups (0.2)).                                                        1.2
2/16/2024 JQ            Argument prep meeting w team.                                                                                                                                      1
2/16/2024 JQ            Continued prep, reading cases.                                                                                                                                   1.2
2/16/2024 ASA           Team meeting in preparation for oral argument.                                                                                                                     1
2/18/2024 JQ            Argument prep.                                                                                                                                                     2
2/19/2024 JQ            Argument prep.                                                                                                                                                   1.5
2/20/2024 JQ            Argument prep.                                                                                                                                                   3.1
2/20/2024 AJ            Attention to argument prep (substantive legal correspondence).                                                                                                   0.3
2/20/2024 ASA           Attention to correspondence re oral argument prep.                                                                                                               0.7
2/20/2024 MC            Oral argument prep.                                                                                                                                              0.5
2/20/2024 RK            Emails with team re agreement.                                                                                                                                   0.7
2/21/2024 ASA           Oral argument moot; research on special damages.                                                                                                                 2.6
2/21/2024 ASA           Oral argument prep work (additional research and moot).                                                                                                            3
2/21/2024 JQ            Extensive prep, moot.                                                                                                                                            5.5
                        Attention to argument prep (mooting J. Quinn (1.5); call with co-defendants' counsel, J. Quinn, and M. Craig (0.5); argument prep discussion with J. Quinn, M.
2/21/2024 AJ            Craig, and A. Sabaghian (0.4); discussion re: follow-up research with A. Sabaghian (0.1); follow-ups and research (2.9)).                                        5.4
2/21/2024 MC            Moot and follow-up discussion; review oral argument prep materials and emails with associate team re same.                                                       5.7
2/22/2024 ASA           Oral argument moot.                                                                                                                                              2.1
2/22/2024 MC            Oral argument prep.                                                                                                                                              2.4
2/22/2024 JQ            Second moot, further prep.                                                                                                                                       1.7
2/22/2024 AJ            Attention to argument prep (research and developing argument materials (1.2); moot with J. Quinn, M. Craig, and A. Sabaghian (1.5); follow-ups (0.1)).           2.8
2/22/2024 AJ            Attention to oral argument prep (analyzing relevant new legal development).                                                                                      0.5
2/26/2024 MC            Emails re oral argument prep.                                                                                                                                    0.1
2/26/2024 JQ            Review motion papers and key filings, continued prep.                                                                                                            1.2
2/27/2024 ASA           Correspondence re oral argument topics.                                                                                                                          0.5
2/27/2024 MC            Attention to oral argument prep.                                                                                                                                 0.5



                                                                                           8
                                   Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 10 of 13


  Date     Timekeeper                                                                              Narrative                                                                                Hours
2/27/2024 JQ          Additional prep work, emails w team.                                                                                                                                    1.1
2/28/2024 ASA         Oral argument moot.                                                                                                                                                     2.2
2/28/2024 MC          Emails re oral argument prep.                                                                                                                                           0.3

2/28/2024 AJ            Attention to argument prep (correspondence and review of materials (0.2); legal research (0.4); mooting J. Quinn with M. Craig and A. Sabaghian (2.2)).               2.8
2/28/2024 JQ            Third moot, final prep, logistics planning.                                                                                                                           3.5
2/29/2024 AJ            Attention to oral argument (final prep for argument (0.5); pre-argument and argument (2.1)).                                                                          2.6
2/29/2024 JQ            Final prep, argument.                                                                                                                                                 4.3
2/29/2024 MC            Attend oral argument.                                                                                                                                                 2.1
2/29/2024 ASA           Oral argument and prep.                                                                                                                                               3.2
2/29/2024 RK            Attended oral argument.                                                                                                                                               2.1
3/25/2024 AJ            Attention to motion for attorney's fees (legal research).                                                                                                             1.6
3/25/2024 ASA           Internal correspondence re fee application.                                                                                                                           0.1
3/26/2024 AJ            Attention to attorney's fees research and motion.                                                                                                                     0.1
3/26/2024 ASA           Research on issues relating to fee application; correspondence with Amit Jain re the same.                                                                            5.3
3/27/2024 JQ            Review invoices and hours and email w team re submission seeking fees and costs.                                                                                      0.7
3/27/2024 ASA           Research on various issues relating to fees motion.                                                                                                                     3
3/27/2024 ASA           Call with Amit Jain re fees motion.                                                                                                                                   0.4
                        Attention to motion for attorney's fees (reviewing and analyzing bills (0.9); check-in with A. Sabaghian (0.4); correspondence with J. Quinn about next steps for
3/27/2024 AJ            research and drafting (0.4)).                                                                                                                                         1.7
3/28/2024 AJ            Attention to attorney's fee motion (reviewing billing records; legal research).                                                                                       0.3
3/28/2024 ASA           Further research on topics relating to fees application; correspondence with Amit Jain re the same.                                                                     4
3/29/2024 AJ            Attention to motion for attorney's fees (reviewing billing records).                                                                                                  1.5
 4/1/2024 AJ            Attention to attorney's fees motion (legal research and drafting motion and declaration).                                                                             3.7
 4/1/2024 AJ            Attention to attorney's fees motion (reviewing bills).                                                                                                                1.3

 4/2/2024 AJ            Attention to attorney's fees motion (legal research; drafting motion and declarations; reviewing billing records and starting to generate exhibits).                 10.6
 4/3/2024 ASA           Research for fees motion; reviewing and implementing edits to draft motion.                                                                                           2.3
 4/3/2024 AJ            Attention to motion for attorney's fees and costs (correspondence, receiving feedback from J. Quinn, and revisions).                                                  2.5
 4/3/2024 JQ            Review and edit fee motion, emails w team re rates and fed claim discount.                                                                                            1.4
 4/4/2024 AJ            Attention to motion for attorney's fees (reviewing bills and generating exhibits).                                                                                    2.4
 4/4/2024 AJ            Attention to motion for attorney's fees and declarations (revising drafts; legal research).                                                                           1.6
 4/4/2024 AJ            Attention to motion for attorney's fees (scheduling meet and confer with opposing counsel).                                                                           0.2
 4/4/2024 AJ            Attention to motion for attorney's fees (client correspondence).                                                                                                      0.2
 4/4/2024 JQ            Emails re meet-and-confer including outreach to opposing counsel and internal prep, additional review of time entries.                                                1.3
 4/5/2024 ASA           Attention to emails re fees motion.                                                                                                                                   0.1
 4/5/2024 AJ            Attention to motion for attorney's fees and declarations (substantive revisions to declarations and implementing substantive edits/feedback).                         1.6
                        Attention to attorney's fees motion (meet and confer with opposing counsel and J. Quinn; debrief and discussion of finalizing motion and attachments with J.
 4/5/2024 AJ            Quinn).                                                                                                                                                               0.3

 4/5/2024 JQ            Review and edit declaration and exhibits (1.8), emails w team re timesheets (0.4), prep for and lead meet-and-confer with opposing counsel (0.3).                     2.5
 4/6/2024 ASA           Attention to edits and finalization of fees motion; call with A. Jain re the same.                                                                                    0.6
                        Attention to attorney's fees motion and declaration (reviewing N. Jahss comments; revising motion and declarations; legal research; work on spreadsheet
 4/6/2024 AJ            exhibit).                                                                                                                                                             1.5
 4/6/2024 AJ            Attention to attorney's fees motion (call with A. Sabaghian re exhibits, timesheets, and finalizing/filing process).                                                  0.4



                                                                                             9
                                    Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 11 of 13


Date      Timekeeper                                                                               Narrative                                                                  Hours
4/7/2024 ASA         Attention to edits and finalization of fees motion.                                                                                                        0.6
4/8/2024 ASA         Attention to emails regarding edits to fees motion.                                                                                                        0.2
                     Additional work on fees motion (implimenting additional edits, reviewing and incorporating fee motion timesheets, attention to exhibits, reviewing and
4/8/2024 ASA         finalizing filings).                                                                                                                                       6.1
4/8/2024 JQ          Internal discussions re fee calculations, and attention to filings and exhibits re same, review and finalize all filings.                                  0.9




                                                                                          10
                                        Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 12 of 13

Cohen Williams LLP
   Date      Timekeeper                                                                              Narrative                                                                                Hours
  9/27/2023 MSW         Review stipulation re schedule and email from N. Jahss re same; email to N. Jahss re same.                                                                              0.5
                        Draft NOAs; review emails re stipulated schedule; conferences with J. Quinn re same; legal research re deadline to file anti-SLAPP motion; legal research re ex
  10/2/2023 MSW         parte applications; review revisions to stipulation; email to co-counsel re same                                                                                        1.5
 10/16/2023 NJ          Prepare for case management call with Matt Craig -- review amended complaint as well as Judge Breyer's standing orders.                                                 0.7
                        Research issues pertaining to Rule 11 motions, information notification of Rule 11 violation, and trigger for safe harbor period; draft email to J. Quinn re same
 10/25/2023 NJ          in connection with letter to X Corp. seeking withdrawal of Brandwatch allegations in Amended Complaint; email to M. Williams re same.                                   1.8
                        Review email from A. Jain re stipulation to extend motion page limit; review and make suggested revisions to draft stipulation; review local rules pertaining to
                        questions posed by A. Jain email; text with M. Williams re same; draft email to A. Jain discussing revisions to stipulation and answering his questions posed in
  11/3/2023 NJ          his email.                                                                                                                                                                1
                        Review multiple emails from A. Jain concerning complications over negotiations with X Corp. counsel for stipulation to exceed page limit for dispositive
                        motions; review practice guide, local rules and standing orders pertaining to page limits, and requests for judicial notice and/or incorporation by reference;
                        review and analyze X Corp. counsel's revisions to stipulation; draft multiple emails to A. Jain responding to inquiries about X Corp. counsel's revisions to
  11/8/2023 NJ          stipulation; brief call with M. Wiliams re same.                                                                                                                        1.7
 11/10/2023 NJ          Review, analyze and provide suggested edits and comments to draft consolidated motion to dismiss and anti-SLAPP motion; email to A. Jain re same.                       3.4
                        Review emails from J. Quinn and A. Jain re issues pertaining to stipulation to exceed page limits, requests for judicial notice, and other open issues relating to
                        dispositive motions; review local rules, standing order, practice guide, cases, and filing precedents in order to formulate advice to inquiries; call with A. Jain to
 11/13/2023 NJ          address issues raised in emails; call with J. Werther to coordinate delivery of courtesy copy of filing to chambers.                                                    1.5
 12/25/2023 NJ          Review original motion papers and then review/analyze X Corp.'s opposition to anti-SLAPP motion and motion to dismiss.                                                  1.9
                        Review draft reply in support of anti-SLAPP motion/MTD. Draft email to A. Jain re same. Coordinate with J. Werther delivery of courtesy copy of reply to
   1/8/2024 NJ          chambers on Thursday.                                                                                                                                                   1.8
                        Review, comment on and revise draft attorney’s fee motion and supporting declarations; emails with M. Williams concerning CW billing rates; review Local
   4/5/2024 NJ          Rules pertaining to questions on fee motion; emails to A. Jain re same.                                                                                                   3
   4/5/2024 MSW         Review and revise declaration in support of fees motion; conferences and emails with N. Jahss re same.                                                                  0.3




                                                                                                11
                                 Case 3:23-cv-03836-CRB Document 78-6 Filed 04/08/24 Page 13 of 13

Total FeesP
       Lawyer          2023 Hours       25% Reduction    2023 Hourly Rate    2024 Hours      25% Reduction    2024 Hourly Rate    Award
Roberta Kaplan                  9.5                  7.1              $950             5.0                3.8              $750      $9,595
John Quinn                     19.8                 14.9              $900            40.6               30.5              $725     $35,523
Matt Craig                     55.0                 41.3              $875            41.5               31.1              $700     $57,908
Amit Jain                     159.2               119.4               $700            41.3               31.0              $575    $101,405
Avisha Sabaghian              152.2               114.2               $550            43.7               32.8              $350     $74,290
Marc Williams                   2.0                  1.5              $600             0.0                0.0              $600        $900
Neil Jahss                     12.0                  9.0              $550             1.8                1.4              $550      $5,720
Pre-Order Totals              409.7               307.4                N/A           173.9             130.6                N/A    $285,340

       Lawyer            Hours          No Reduction                                                            Hourly Rate       Award
Roberta Kaplan                    0.0               0.0                                                                   $750           $0
John Quinn                        6.8               6.8                                                                   $725       $4,930
Matt Craig                        0.0               0.0                                                                   $700           $0
Amit Jain                        31.5              31.5                                                                   $575      $18,113
Avisha Sabaghian                 22.7              22.7                                                                   $350       $7,945
Marc Williams                     0.3               0.3                                                                   $600         $180
Neil Jahss                        3.0               3.0                                                                   $550       $1,650
Fee Motion Totals                64.3              64.3                                                                     N/A     $32,818

Total Hours                                                                                                                           502.3
Total Fees Requested                                                                                                              $318,158




                                                                        12
